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                  IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA                         SEP 2 8 2W
                            ATLANTA DIVISION
                                                                                         .ARK
MATTHEW SHIREY                                                                           aft

     Plaintiff,
                                             CIVIL ACTION
V.
                                             No. i o 7 -r. v -X395
PENNCRO ASSOCIATES, INC .
A Pennsylvania Corporation,

     Defendant.




                        COMPLAINT FOR DAMAGES

                              INTRODUCTION

1.   This is an action for damages against the Defendant for violations of the

     Federal Fair Debt Collection Practices Act, 15 U .S .C . §§ 1692 et seq .




                      SUBJECT MATTE R JURISDICTION

     Subject matter jurisdiction in this Court is proper pursuant to 15 U .S.C.

     section 1692k(d) and 28 U .S.C . section 1337 (federal question

     jurisdiction).

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               PARTIES AN D PE R SONAL JURISDICTION

3 . Plaintiff MATTHEW SHIREY is a resident of this State, District and

      Division who is authorized by law to bring this action .

4 . Defendant PENNCRO ASSOCIATES, INC . is a corporation organized

      under the laws of the State of New York . [Hereinafter said Defendant is

      referred to as "PENNCRO"]

5 . PENNCRO is subject to the jurisdiction and venue of this Court .

6 . PENNCRO may be served by personal service upon its registered agent

      in the State of Georgia, to wit: CT Corporation System, 1201 Peachtree

      Street, NE, Atlanta, GA 30361, or wherever said agent may be found .

7 . Alternatively, Defendant may be served by personal or substitute service

      pursuant to the Federal Rules of Civil Procedure, the laws of the State of

      Pennsylvania, and/or the laws of the State of Georgia .

8 . Other defendants may be discovered in the course of litigation, and

      Plaintiff respectfully prays that the Court will permit the addition of later

      discovered parties upon motion.




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                       FACTS COMMON TO ALL CAUSES

9. Defendant uses telephone communications in its business .

10. Defendant uses the mails in its business .

11 . The principal purpose of Defendant's business is the collection of debts .

12 . Defendant regularly collects or attempts to collect debts owed or due or

      asserted to be owed or due to another.

13 . Defendant is a debt collector subject to the provisions of the Federal Fair

      Debt Collection Practices Act .

14 . On or about September 27, 2007, Defendant attempted to contact Plaintiff

      by telephone .

15 . In the September 27, 2007 phone call, Defendant left a voice message on

      Plaintiff s answering machine .

16 . In the September 27, 2007 phone message, the caller did not state the

      company she worked for.

17 . In the September 27, 2007 phone message, the caller did not state that the

      communication was from a debtt collector .

18 . In the September 27, 2007 phone message, the caller did not state that the

      communication was an attempt to collect a debt .


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19. Defendant, by and through its collection agent employees, has left prior

      similar messages that also failed to make the necessary disclosures as

      required by law.

20. Defendant's communications violate the federal Fair Debt Collection

      Practices Act .

21 . Plaintiff has complied with all conditions precedent to bring this action .




                             CAUSES OF ACTION

      COUNT ONE : FAIR DEBT COLLECTION PRAC TI CES ACT

22 . Defendant's violations of the FDCPA include, but are not limited to, the

      following:

23 . The placement of telephone calls without meaningful

             disclosure of the caller's identity, in violation of 15 U .S .C. §

             1692d(6) ;

24 . The use of any false, deceptive, or misleading representations or

             means in connection with the collection of any debt, in violation of

             15 U.S.C. § 1692e ; and




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25 . Failing to disclose in the initial oral communication that the

             debt collector is attempting to collect a debt and that any

             information would be used for that purpose, in violation of

              15 U.S .C . § 1692e(11) ; and

26. As a result of Defendant's actions, Plaintiff is entitled to an award of

      statutory damages, as well as an award of costs and attorney fees .


      WHEREFORE, PLAINTIFF RESPECTFULLY PRAYS THAT

JUDGMENT BE ENTERED AGAINST DEFENDANT AND IN FAVOR OF

PLAINTIFF, AS FOLLOWS :

      a) That Plaintiff be awarded statutory damages ;

      b) That Plaintiff be awarded the expenses of litigation including a

reasonable attorney fee;

      c) That the Court declare each and every defense raised by Defendant

to be insufficient ; and

       d) That the Court grant such further and additional relief as is just in

the circumstances .

      Respectfully Submitted,



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